     Case 8:17-cv-00838-JLS-JDE Document 164-4 Filed 11/06/20 Page 1 of 3 Page ID
                                      #:6983




 1                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
 2
     In re: Hyundai and Kia Engine       8:17-cv-00838-JLS-JDE
 3
     Litigation
 4                                       Related Cases:
 5                                       8:17-cv-01365-JLS-JDE
                                         8:17-cv-02208-JLS-JDE
 6                                       2:18-cv-05255-JLS-JDE
 7                                       8:18-cv-00622-JLS-JDE
                                         8:18-cv-02223-JLS-JDE
 8
 9
10    DECLARATION OF BONNER C. WALSH IN FURTHER SUPPORT OF
     PLAINTIFFS’ UNOPPOSED MOTION FOR CLASS COUNSEL FEE AND
11      EXPENSE AWARD AND CLASS REPRESENTATIVE SERVICE
12                          AWARDS
13
           I, Bonner C. Walsh, hereby declare under penalty of perjury pursuant to 28
14
     U.S.C. § 1746 that the following is true and correct:
15
           1.     I am a member in good standing of the bars of Idaho, Texas,
16
     Washington and Oregon, and I am admitted pro hac vice to this Court and am
17
     counsel for Plaintiffs and the Settlement Class. I respectfully submit this
18
     declaration in further support of Plaintiffs’ Unopposed Motion for Class Counsel
19
     Fees and Expenses Award and Named Plaintiffs’ Service Awards. The following is
20
     based on my personal knowledge, and if called upon to do so, I could and would
21
     competently testify to the statements set forth below.
22
           2.     Between September 25, 2020 and November 5, 2020, my firm has
23
     collectively spent approximately 132.4 hours working on this case, for a total
24
     lodestar amount of $81,590.00.
25
26
27
28
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 1    Timekeeper             Hourly Rate     Hours        Total            Timekeeper
                                                          Lodestar
 2    Bonner Walsh (P)       $650.00         102.6        $66,690.00       Bonner
 3                                                                         Walsh (P)
      Carla Walsh (P)        $500.00         29.8         $14,900.00       Carla Walsh
 4
                                                                           (P)
 5    Totals                                 132.4        $81,590          Totals
 6
            3.      Due to the amount of privileged information contained in the hourly
 7
     billing records, those detailed records are not attached here. Consistent with Your
 8
     Honor’s Procedures, a spreadsheet in Microsoft Excel format that lists billed tasks
 9
     will be provided to the Court.
10
            4.      Between September 25, 2020 and November 5, 2020, my firm has
11
     expended addition costs of approximately $8,199.12. These expenses are reflected
12
     in the books and records of my firm. All of the expenses incurred were reasonable
13
     and necessary to the prosecution of this case. These expenses are detailed below.
14
15
      Expense Type                                      Amount
16
17    Expert Fees                                                           $5,000.00
18
      Black Book subscription                                               $2,239.32
19
20    Costs Deposition of Daniel Thornton                                     $959.80
21
22    Total                                                                 $8,199.12
23
24
            5.      When combined with the time previously submitted to the Court on
25
     September 30, 2020, my firm has spent a total of 840.6 hours working on this case,
26
     for a total lodestar amount of $536,820.00. My firm has also expended $19,755.51
27
     in total costs.
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     Dated: November 6, 2020            /s/ Bonner C. Walsh
 2                                      Bonner C. Walsh
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